    Case 23-10763-amc           Doc 831       Filed 11/29/24 Entered 11/29/24 11:06:49             Desc Main
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Form PL239 (03/22)


                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                                  )
    Stream TV Networks, Inc.                            )              Case No. 23−10763−amc
                                                        )
                                                        )
    Technovative Media, Inc.                            )              Chapter: 11
                                                        )
     Debtor(s).                                         )              Civil Case Number.


                          Transmission of Documents to the U.S. District Court
To Clerk of Court, U.S. District Court:

     We herewith transmit the following document(s) filed in the above matter(s), together with a copy of the
docket entries:

          Certificate of appeal from order entered and dated November 14, 2024 by the Honorable Ashely M. Chan
      Notice of appeal filing fee    paid            not paid

          Designation of Record on Appeal Filed
          Designation of Record on Appeal Not Filed

          Supplemental certificate of appeal

          Motion for leave to appeal filed
          Answer to motion filed

          Proposed findings of fact and conclusions of law entered by the Honorable Ashely M. Chan
          Report and recommendation entered by the Honorable Ashely M. Chan
          Other Motion to Reconsider filed by Appellant Visual Semiconductor Inc pending in bky court

      Kindly acknowledge receipt on the copy of the letter provided.


Date: November 29, 2024                                                For The Court

                                                        Timothy B. McGrath
                                                        Clerk of Court
______________________________________________________________________________________________

Received Above material or record tile this day: ___________________
Civil Action No. _________________                          Signature: __________________
Miscellaneous No.________________                            Date: _________________
Assigned to Judge _____________________
